Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 1 of 20

                                       REDACTED


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 1:14-cv-21385-JAL

   WREAL, LLC, a Florida Limited Liability
   Company,

           Plaintiff,

   v.

   AMAZON.COM, INC., a Delaware
   corporation,

           Defendant.




                             AMAZON’S MOTION TO EXCLUDE
                        CERTAIN OPINIONS OF THOMAS J. MARONICK




   3930870V1/014332
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 2 of 20



                                                            CONTENTS


   I.     INTRODUCTION ...............................................................................................................1

   II.    BACKGROUND .................................................................................................................2

   III.   LEGAL STANDARD ..........................................................................................................4

   IV.    ARGUMENT .......................................................................................................................4

          A.        Dr. Maronick’s Testimony Is Unreliable under Daubert.........................................4

                    1.         Dr. Maronick Does Not Test His Theory by Replicating Dr.
                               Sarel’s Survey with Dr. Maronick’s Suggested Changes. ...........................5

                    2.         Dr. Maronick’s Specific Criticisms Are Contrary to Relevant
                               Authority. .....................................................................................................6

          B.        Dr. Maronick’s Opinions Will Not Assist the Trier of Fact. ...................................9

                    1.         Dr. Maronick’s Opinions Do Not Assist the Fact-Finder in
                               Evaluating Dr. Sarel’s Survey....................................................................10

                    2.         Dr. Maronick’s Criticisms Are Irrelevant Because Dr.
                               Maronick Believes No Survey is Appropriate in This Case. .....................11

          C.        WREAL Should be Judicially Estopped from Relying on Dr.
                    Maronick’s Critiques of Dr. Sarel Given its Representation that Dr.
                    Maronick Would not Testify at Trial. ....................................................................12

   V.     CONCLUSION ..................................................................................................................14

   VI.    REQUEST FOR HEARING ..............................................................................................14




   3930870V1/014332
                                                                        -i-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 3 of 20



                                                         AUTHORITIES



   Cases

   Allison v. McGhan Med. Corp.,
           184 F.3d 1300 (11th Cir. 1999) .......................................................................................... 4

   Am. Nat’l Bank of Jacksonville v. Fed. Deposit Ins. Corp.,
         710 F.2d 1528, 1536 (11th Cir. 1983) .............................................................................. 12

   Burnes v. Pemco Aeroplex, Inc.,
          291 F.3d 1282 (11th Cir. 2002) ........................................................................................ 12

   City of Tuscaloosa v. Harcros Chems., Inc.,
           158 F.3d 548 (11th Cir. 1998) ............................................................................................ 4

   Daubert v. Merrell Dow Pharm., Inc.,
         509 U.S. 579 (1993) .................................................................................................... 1, 4, 5

   Denimafia Inc. v. New Balance Athletic Shoe, Inc.,
         2014 U.S. Dist. LEXIS 27541 (S.D.N.Y. Mar. 3, 2014) .................................................... 7

   Guinn v. AstraZeneca Pharm. LP,
          602 F.3d 1245 (11th Cir. 2010) .......................................................................................... 4

   Integrity Inc. v. Integrity Online Int’l Holdings,
           No. 1:00-cv-1291-WCO, ECF No. 152 at 1-2 (N.D. Ga. Oct. 22, 2002) ................. 2, 6, 10

   Kargo Global, Inc. v. Advance Magazine Publishers, Inc.,
         2007 WL 2258688 (S.D.N.Y. Aug. 6, 2007) ...................................................................... 7

   McDowell v. Brown,
        392 F.3d 1283 (11th Cir. 2004) .......................................................................................... 5

   New Hampshire v. Maine,
        532 U.S. 742 (2001) .................................................................................................... 12, 13

   Pods Enters., Inc. v. U-Haul Int’l, Inc.,
         2014 WL 2625297 (M.D. Fla. Jun. 12, 2014)................................................................... 10

   R & R Int’l, Inc. v. Manzen, LLC,
          2010 WL 3605234 (S.D. Fla. Sept. 12, 2010) .................................................................... 5

   Sara Lee Corp. v. Goldstone Hosiery Co.,
          2001 TTAB LEXIS 204 (TTAB Mar. 7, 2001) .................................................................. 5



   3930870V1/014332
                                                                       -ii-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 4 of 20



   Whelan v. Royal Caribbean Cruises Ltd.,
         2013 WL 5595938, (S.D. Fla. Aug. 12, 2013).................................................................... 5

   Whirlpool Properties, Inc. v. LG Electronics U.S.A., Inc.,
         2006 U.S. Dist. LEXIS 1378 (W.D. Mich. Jan. 10, 2006) ............................................. 6, 9


   Other Authorities

   Jacob Jacoby, “Are Closed-Ended Questions Leading Questions,”
          in Trademark and Deceptive Advertising Surveys: Law, Science, and Design
          (Shari Seidman Diamond & Jerre B. Swann, eds., 2012) ................................................... 8

   William G. Barber, “The Universe,”
          in Trademark and Deceptive Advertising Surveys: Law, Science, and Design
          (Shari Seidman Diamond & Jerre B. Swann, eds., 2012) ................................................... 9


   Rules

   Fed. R. Evid. 702 ........................................................................................................................ 1, 4


   Treatises

   6 J. THOMAS MCCARTHY, MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION
          § 32:174 (2014) ............................................................................................................... 1, 6

   6 J. THOMAS MCCARTHY, MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION
          § 32:178 (2014) ................................................................................................................... 6




   3930870V1/014332
                                                                           -iii-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 5 of 20




                                      I.      INTRODUCTION
          Both Amazon.com, Inc. (“Amazon”) and plaintiff WREAL, LLC (“WREAL”) conducted

   consumer surveys in this case. Both parties retained qualified survey experts. Both those experts

   used the commonly accepted Eveready survey method.1 And both sets of surveys demonstrated

   what has been clear from the outset of this case: consumer confusion between Amazon’s

   mainstream-focused Amazon Fire TV and WREAL’s hardcore-pornography-streaming FyreTV

   ranges from “extremely low” (according to WREAL’s expert Dr. Thomas Maronick) to

   “statistically nonexistent” (according to Amazon’s expert Dr. Dan Sarel).

          Amazon does not move to exclude Dr. Maronick’s April 2014 surveys showing

   “extremely low” confusion. Nor does Amazon move to exclude Dr. Maronick’s remarkable

   explanation for that finding:                                                         , an assertion

   which – if true – would be fatal to WREAL’s reverse confusion claim. See Maronick Dep. 13:9-

   10                                                              However, Amazon does move to

   exclude Dr. Maronick’s various critiques of Dr. Sarel’s survey, which are improper for three

   reasons. First, they are unreliable under Rule 702 and Daubert v. Merrell Dow Pharm., Inc., 509

   U.S. 579 (1993). Dr. Maronick’s criticisms are untested: he has made no effort re-run Dr. Sarel’s

   survey after adjusting for the criticisms to see if the results differ. Also, many of Dr. Maronick’s

   specific criticisms are contrary to the authority in his field, and Dr. Maronick cites no authority
   to support his novel views.

          Second, Dr. Maronick’s opinions are irrelevant. Dr. Maronick’s various criticisms go to

   the weight to be given to Dr. Sarel’s testimony and may be brought out on cross-examination and


   1
     An Eveready survey shows respondents an example of the senior user’s mark as used in
   commerce (for a reverse confusion case) and then asks respondents a series of open-ended
   questions designed to test whether respondents believe the junior user is the source, affiliate, or
   sponsor of the senior user’s mark. See generally J. Thomas McCarthy, McCarthy on Trademarks
   and Unfair Competition § 32:174 (2014) (hereinafter “McCarthy on Trademarks”) (Eveready
   survey is a “standard and widely accepted format to prove the likelihood or non-likelihood of
   confusion.”).


   3930870V1/014332
                                                     -1-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 6 of 20




   weighed by the fact-finder without the need for Dr. Maronick’s testimony. See Integrity Inc. v.

   Integrity Online Int’l Holdings, No. 1:00-cv-1291-WCO, at 1-2 (N.D. Ga. Oct. 22, 2002)

   (attached as Hansen Dec. Ex. 1) (excluding rebuttal survey expert who did not conduct his own

   survey). Dr. Maronick’s opinions criticizing Dr. Sarel’s survey are also irrelevant because Dr.

   Maronick has opined that no survey would show confusion as, in Dr. Maronick’s view,

                                                      . Dr. Maronick’s individual critiques of Dr.

   Sarel’s survey questions, universe, and so on have no relevance, as Dr. Maronick apparently

   believes no possible survey design would show actionable reverse confusion.

          Third, the Court should exclude Dr. Maronick’s opinions critiquing Dr. Sarel on grounds

   of judicial estoppel. WREAL successfully prevented Amazon from seeing the documents

   associated with Dr. Maronick’s April 2014 surveys by representing to Magistrate Judge

   Goodman that Dr. Maronick had not been designated as a testifying expert at trial. WREAL then

   did not designate Dr. Maronick at the expert disclosure deadline, only disclosing him as a

   purported “rebuttal” expert on the last day of expert discovery, and producing the documents

   related to his surveys some weeks after the close of expert discovery. This gamesmanship

   prevented Amazon’s expert, Dr. Sarel, from reviewing and opining on the documents from Dr.

   Maronick’s prior surveys – which would have demonstrated the absurdity of many of Dr.

   Maronick’s critiques, because Dr. Maronick did many of the same things he now criticizes Dr.
   Sarel for doing. Judicial estoppel exists to prevent such gamesmanship.

          Dr. Maronick’s criticisms of Dr. Sarel are methodologically improper and irrelevant. This

   should not be surprising: many other courts have previously excluded or given little weight to

   Dr. Maronick’s testimony. See ECF No. 130 at 39 n.18 (collecting cases). Amazon respectfully

   asks that this Court do the same.

                                       II.    BACKGROUND
          The Amazon Fire TV launched April 2, 2014. Around the same time, WREAL retained

   Dr. Maronick to conduct consumer surveys measuring possible confusion between WREAL’s
   FyreTV mark and the Amazon Fire TV. Hansen Dec. Ex. 2 at 34:18; 36:3-12. Dr. Maronick’s

   3930870V1/014332
                                                    -2-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 7 of 20




   surveys found that



                                                 Id. at 36:5-9.

          Presumably because Dr. Maronick’s surveys showed confusion among consumers was

   “extremely low,” WREAL did not disclose Dr. Maronick’s survey results with Dr. Maronick’s

   declaration submitted with WREAL’s reply brief in support of its motion for a preliminary

   injunction. Nor did Dr. Maronick himself disclose the results on direct examination at the

   preliminary injunction hearing. On cross-examination, however, Dr. Maronick was forced to

   admit he had conducted a consumer survey that showed “very low” confusion. Hansen Dec. Ex.

   3 at 378:9-22.

          Dr. Maronick also testified at the preliminary injunction hearing about various criticisms

   of Dr. Sarel’s survey. Magistrate Judge Goodman appropriately “g[ave] no weight to Dr.

   Maronick’s various criticisms,” finding Dr. Maronick’s previously undisclosed survey results

   “actually tend to support Dr. Sarel’s finding.” ECF No. 130 at 39.

          After the hearing, Amazon subpoenaed all documents related to Dr. Maronick’s prior

   surveys. WREAL successfully moved to quash this subpoena, arguing that Dr. Maronick had not

   been disclosed “as an expert witness that may testify at trial.” ECF No. 139 at 1. WREAL did not

   disclose Dr. Maronick as a testifying expert on its expert disclosure deadline of June 26, 2015.
   On Amazon’s expert disclosure deadline of August 11, 2015, Amazon disclosed Dr. Sarel,

   whose August 2015 declaration reiterates his survey findings and responds to the unsupported

   criticisms that Dr. Maronick offered at the preliminary injunction hearing. Dr. Sarel did not,

   however, have an opportunity to examine Dr. Maronick’s documents from his April 2014

   surveys, as WREAL had successfully shielded these documents from discovery.

          On August 20, 2015, WREAL filed a motion requesting the opportunity to serve a

   rebuttal expert report from a “financial expert.” ECF No. 174. The motion did not indicate

   WREAL would be serving a rebuttal report from any survey expert, much less a survey expert
   whose studies WREAL had successfully withheld expressly because that expert was not

   3930870V1/014332
                                                    -3-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 8 of 20




   designated to testify at trial. Then, on the last day of expert discovery, WREAL disclosed Dr.

   Maronick as a purported “rebuttal witness,” offering many of the same criticisms of Dr. Sarel’s

   December 2014 survey that Dr. Maronick offered at the preliminary injunction hearing, plus –

   for the first time – a theory that no survey could show consumer confusion because

                                   Hansen Dec. Ex. 4 at ¶¶ 67, 74. Several weeks later – long after

   the close of expert discovery – WREAL finally produced documents related to Dr. Maronick’s

   April 2014 surveys, demonstrating beyond doubt that those surveys indeed showed extremely

   low confusion levels.

                                     III.     LEGAL STANDARD
             WREAL bears the burden of showing that Dr. Maronick’s testimony is admissible. See

   Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999) (citing Daubert, 509 U.S.

   at 592 n.10). Federal Rule of Evidence 702 governs the admissibility standard, and the Eleventh

   Circuit “applies a three-part inquiry to determine whether an expert has met the requirements of

   Rule 702.” Guinn v. AstraZeneca Pharm. LP, 602 F.3d 1245, 1252 (11th Cir. 2010). Courts must

   consider whether: “(1) the expert is sufficiently qualified to testify on the issues he intends to

   address; (2) the expert’s methodology is ‘sufficiently reliable as determined by the sort of inquiry

   mandated in Daubert; and (3) the testimony assists the trier of fact, through the application of

   scientific, technical, or specialized expertise, to understand the evidence or to determine a fact in
   issue.’” Id. (citing City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir.

   1998)).

                                            IV.   ARGUMENT
   A.        Dr. Maronick’s Testimony Is Unreliable under Daubert.
             Dr. Maronick’s purported expert testimony is unreliable for two reasons. First, Dr.

   Maronick criticizes Dr. Sarel’s survey without testing his criticisms by conducting a survey of

   his own to show that changing Dr. Sarel’s survey would affect the results. This is, by definition,

   an improper untested methodology under Daubert. Second, many of Dr. Maronick’s specific
   criticisms are contrary to the relevant authority in the survey field (and in some cases Dr.

   3930870V1/014332
                                                      -4-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 9 of 20




   Maronick’s own previous practice). Dr. Maronick cites no authority to defend why he departed

   from the authoritative guidance in his field, rendering his novel proposals unreliable.

          1.      Dr. Maronick Does Not Test His Theory by Replicating Dr. Sarel’s Survey with
                  Dr. Maronick’s Suggested Changes.

          Dr. Maronick’s critiques of Dr. Sarel fail one of Daubert’s fundamental requirements

   because they have not been tested: Dr. Maronick has made no attempt to show that re-running

   Dr. Sarel’s survey with the supposed “errors” corrected would make any difference in the results.

   As the Supreme Court stated in Daubert, “[o]rdinarily, a key question to be answered in

   determining whether a theory or technique is scientific knowledge that will assist the trier of fact

   will be whether it can be (and has been) tested.” Daubert, 509 U.S. at 593. As the Court further

   explained, “[s]cientific methodology today is based on generating hypotheses and testing them to

   see if they can be falsified.” Id. (citation omitted). Accordingly, the Eleventh Circuit and other

   courts in this district have rejected expert opinions when experts did not test their theories. See,
   e.g., McDowell v. Brown, 392 F.3d 1283, 1300 (11th Cir. 2004) (upholding exclusion of

   plaintiff’s expert who had “not tested his own theory”); Whelan v. Royal Caribbean Cruises Ltd.,

   2013 WL 5595938, at *5 (S.D. Fla. Aug. 12, 2013) (striking expert that did not test his own

   hypotheses); R & R Int’l, Inc. v. Manzen, LLC, 2010 WL 3605234, at *12 (S.D. Fla. Sept. 12,

   2010) (rejecting expert’s “sampling” method because it “does not constitute scientific testing that
   can be duplicated by another researcher”).

          This principle holds true in survey research as well: “As the ABA’s treatise on survey

   evidence notes, courts do and should ignore or give little weight to survey criticisms absent a

   showing that using the approach the critiquing expert believes to be correct would lead to a

   different result.” ECF No. 130 at 38-39.2 Courts reject such criticisms because “it is notoriously

   easy for one survey expert to appear to tear apart the methodology of a survey taken by another.”

   Sara Lee Corp. v. Goldstone Hosiery Co., 2001 TTAB LEXIS 204, at *26 (TTAB Mar. 7, 2001)

   2

                 Hansen Dec. Ex. 2 at 76:22-77:8.

   3930870V1/014332
                                                     -5-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 10 of 20




   (citing McCarthy on Trademarks § 32:178) . For example, in Whirlpool Properties, Inc. v. LG

   Electronics U.S.A., Inc., 2006 U.S. Dist. LEXIS 1378, at *11-12 (W.D. Mich. Jan. 10, 2006), the

   defendant presented consumer surveys showing a lack of confusion. The plaintiffs presented no

   contrary survey, relying instead on a rebuttal expert to “review and offer an opinion” regarding

   the defendant’s survey. Id. at *11. The court roundly criticized this approach: “[plaintiffs’ expert]

   did not conduct any survey demonstrating that her suggested modifications to [defendant’s

   expert’s] survey would produce different or more accurate results.” Id. at *18-19; see also id. at

   *11-12, *21, *24. The court recognized that the plaintiffs’ expert’s opinion was unpersuasive

   because “the absence of competing survey evidence from [plaintiffs’ expert] showing divergent

   survey results significantly undermines the efficacy of plaintiffs’ arguments that defendants’

   evidence is so unreliable that it must be excluded.” Id. at *11-12. See also Integrity, No. 1:00-cv-

   1291-WCO, at 1-2 (striking expert who did not offer his own survey) (attached as Hansen Dec.

   Ex. 1). This is exactly the situation here: without any survey from Dr. Maronick demonstrating

   that changing Dr. Sarel’s survey in the way Dr. Maronick proposes would make any difference,

   the Court is left with an untested opinion that is unreliable under Daubert.

           2.      Dr. Maronick’s Specific Criticisms Are Contrary to Relevant Authority.

           One of the centerpieces of Dr. Maronick’s September 2015 report was his opinion that

   the Eveready survey design – the design used by Dr. Sarel – was inappropriate in this case.

   However, the leading trademark treatise states that the Eveready method is “standard and widely

   accepted”:

                A now-standard survey format used to prove likely confusion in cases where
                plaintiff makes some products which defendant does not is the Eveready
                format. This has become a standard and widely accepted format to prove the
                likelihood confusion or non-likelihood of confusion.
   McCarthy on Trademarks § 32:174 (emphasis added).

           Dr. Maronick confirmed that the Eveready format

                       Hansen Dec. Ex. 2 at 9:1-2. More specifically, courts have confirmed the
   Eveready format is especially useful in reverse-confusion cases such as this one. See Denimafia

    3930870V1/014332
                                                      -6-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 11 of 20




   Inc. v. New Balance Athletic Shoe, Inc., 2014 U.S. Dist. LEXIS 27541, at *97 (S.D.N.Y. Mar. 3,

   2014) (“The Court is satisfied that [defendant’s expert] had good reason for employing the

   Eveready format for reverse confusion analysis.”); Kargo Global, Inc. v. Advance Magazine

   Publishers, Inc., 2007 WL 2258688, at *8 (S.D.N.Y. Aug. 6, 2007) (striking survey expert who

   did not conduct Eveready survey in reverse-confusion case).

           Remarkably, Dr. Maronick has admitted that – contrary to the opinions in his report – the

   Eveready format is the best format to use here. During the preliminary injunction hearing, Dr.

   Maronick conceded that in a likelihood of confusion case such as this one, “the correct format is

   what’s called the Eveready format.” Hansen Dec. Ex. 3 at 373:15; see also id. Ex. 2 at 49:19-20

   (confirming his belief at the preliminary injunction hearing that “[a]t that time, yes, [Eveready]

   would have been appropriate.”). Not only did Dr. Maronick agree that Dr. Sarel’s use of an

   Eveready study was appropriate at that time, but Maronick himself utilized the Eveready format

   for his April 2014 surveys in this case. See id. Ex. 2 at 159:20-23

                                                                                       Dr. Maronick

   also confirmed that, in his experience conducting surveys,

                Id. at 11:10-11.

           Against this weight of authority from the field, relevant case law, and Dr. Maronick’s

   own experience and prior endorsement of the Eveready format, Dr. Maronick opines for the first
   time in his rebuttal report that “Dr. Sarel’s use of an Eveready survey was inappropriate.”

   Hansen Decl. Ex. 4 at ¶ 10. Dr. Maronick’s report states that “[a]n Eveready survey can only be

   used to test confusion                                                               ” id. at ¶ 12,

   and,



               Id. at ¶ 15. That is, Dr. Maronick’s sole criticism of the Eveready format is that it
   allegedly understates confusion because, in Dr. Maronick’s view,

               Id. at ¶¶ 10-26.



    3930870V1/014332
                                                     -7-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 12 of 20




           However, this criticism has nothing to do with the format of Dr. Sarel’s survey; rather, it

   is an argument that any survey is impossible. Dr. Maronick confirmed at his deposition that his

   complaints about Dr. Sarel’s survey are not directed to use of the Eveready format but rather the

   use of any survey to measure for confusion in this case.




   Hansen Dec. Ex. 2 at 160:11-17. It is thus apparent that Dr. Maronick does not believe Dr.

   Sarel’s survey is inappropriate because of its Eveready format. Instead, Dr. Maronick appears to

   believe that the Eveready format is likely the best possible format for use in this case. This

   accords with the relevant authority, and Dr. Maronick’s belated attempt to argue to the contrary

   should be excluded as unreliable.

           Many of Dr. Maronick’s other specific criticisms are similarly contrary to the relevant

   authority, and Dr. Maronick cites no contrary authority for his departure from professional

   standards. For example:

               Dr. Maronick asserted without citation that an open-ended question in Dr.
                Sarel’s survey – “Who do you think puts out or offers the adult video on
                demand service or product you just saw on these web pages?” – was a
                leading question. Hansen Dec. Ex. 4 at ¶¶ 54-60. And yet, as the ABA’s
                survey evidence treatise properly notes, an open-ended question that “directs
                attention only to the topic of the question” (here, the service or product at
                issue) is not a leading question.3

               Dr. Maronick opined that Dr. Sarel should have counted certain respondents
                as confused who did not mention Amazon or give any indication they were
                thinking about Amazon – and yet Dr. Maronick was forced to concede on
                cross-examination at the preliminary injunction hearing that he was aware of
                no academic literature that supported such a methodology. Hansen Decl. Ex.
                3 at 386:2-13.



   3
    Jacob Jacoby, “Are Closed-Ended Questions Leading Questions,” 262, in Trademark and
   Deceptive Advertising Surveys: Law, Science, and Design (Shari Seidman Diamond & Jerre B.
   Swann, eds., 2012).

    3930870V1/014332
                                                     -8-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 13 of 20



               Dr. Maronick criticized Dr. Sarel for defining his survey universe as
                including persons who visited or plan to visit adult websites that require
                payment for full access to adult content (instead of persons who actually paid
                for adult content) (Hansen Decl. Ex. 4 at ¶¶ 27-40) and for not attempting to
                match the demographics of his survey sample to an (old) informal survey at
                WREAL of its customers (id. ¶ 41). However, as the ABA’s survey treatise
                notes, “in cases alleging reverse confusion . . . the relevant universe is the
                senior user’s potential customers.”4 Dr. Sarel noted that WREAL itself
                advertised on websites that showed adult content for free but required
                payment for full access to adult content (Hansen Decl. Ex. 5 at ¶ 29); Dr.
                Maronick cites no authority for the proposition that it is inappropriate to
                select a survey universe that matches the plaintiff’s actual target audience for
                advertising.5
            Dr. Maronick’s unsupported ipse dixit opinions are not reliable under Daubert. See

   Whirlpool, 2006 U.S. Dist. LEXIS 1378, at *10 (criticizing plaintiffs’ expert because the

   “opinions in her declarations are generally not supported by citation to authorities relied on by

   survey experts.”). Dr. Maronick should not be permitted to offer novel methodological

   criticisms, unsupported by any authority, when they are directly contrary to the authority in his

   field.

   B.       Dr. Maronick’s Opinions Will Not Assist the Trier of Fact.
            Dr. Maronick’s proposed testimony fails the “helpfulness” prong of the Eleventh

   Circuit’s inquiry under Rule 702 for two reasons. First, Dr. Maronick’s criticisms of Dr. Sarel’s

   survey may be brought out on cross-examination and weighed by the fact-finder without the need

   for Dr. Maronick’s testimony. Second, Dr. Maronick’s opinion that no survey could be used in
   this case renders his specific complaints about Dr. Sarel’s survey irrelevant.




   4
     William G. Barber, “The Universe,” 31, in Trademark and Deceptive Advertising Surveys:
   Law, Science, and Design (Shari Seidman Diamond & Jerre B. Swann, eds., 2012).
   5
     In fact, when Dr. Maronick conducted surveys for this case, he did exactly what he criticizes
   Dr. Sarel for doing: he asked only whether persons had streamed adult content rather than
   limiting his audience more narrowly to persons who paid for adult content. Hansen Decl. Ex. 2 at
   134:9-15



    3930870V1/014332
                                                      -9-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 14 of 20



           1.      Dr. Maronick’s Opinions Do Not Assist the Fact-Finder in Evaluating Dr. Sarel’s
                   Survey.

           In Integrity Inc., No. 1:00-cv-1291-WCO, at 1-2 (Hansen Decl. Ex. 1), the court

   considered a motion to exclude an expert whose testimony was to be used “for the purpose of

   criticizing the consumer confusion survey conducted by [the opposing party’s] expert witness,”

   even though the expert had “not conducted a survey on this issue himself.” The court recognized

   that it is uncommon to see a rebuttal expert present no survey of his own and instead rely on

   criticism of an opposing expert, “because such testimony is not necessary for a jury to be able to

   determine how much weight to assign to the survey evidence.” Id. at 4 (emphasis added).
   Instead, the court emphasized, any supposed flaws in the survey are “capable of being brought

   out through cross-examination.” Id. at 5.

           This Court should exclude Dr. Maronick’s testimony on the same grounds. Dr.

   Maronick’s various criticisms of supposed technical deficiencies in Dr. Sarel’s survey go to the

   weight the fact-finder should accord to Dr. Sarel’s survey. See, e.g., Pods Enters., Inc. v. U-Haul

   Int’l, Inc., 2014 WL 2625297, at *3 (M.D. Fla. Jun. 12, 2014) (collecting cases holding that

   “technical deficiencies go to the weight of [expert’s] opinions, not their admissibility.”). Such

   criticisms may be the subject of cross-examination; it is not necessary or helpful to have an

   expert testify about them. See Integrity, No. 1:00-cv-1291-WCO, at 3-5. Nor would Dr.

   Maronick’s testimony be admissible if WREAL were to contend (wrongly) that Dr. Maronick’s

   critiques of Dr. Sarel go not to the weight to be accorded to Dr. Sarel’s testimony but to the

   foundational question of whether Dr. Sarel’s survey should be admitted at all. If that were in fact

   correct, then Dr. Maronick’s testimony would be inadmissible for a different reason, also noted

   by the court in Integrity: WREAL would be seeking to admit testimony that goes to a purely

   legal determination of threshold admissibility that is the province of the Court, not the fact-

   finder, to determine. Id. at 5-6. Either way, Dr. Maronick’s criticisms are irrelevant and

   unhelpful to the fact-finder.




    3930870V1/014332
                                                    -10-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 15 of 20



           2.      Dr. Maronick’s Criticisms Are Irrelevant Because Dr. Maronick Believes No
                   Survey is Appropriate in This Case.

           Dr. Maronick offers a number of criticisms of Dr. Sarel’s survey ranging from charges of

   improper survey validation to quibbles about the form of screening and survey questions. As

   explained above, each of these criticisms is independently subject to exclusion as unreliable

   because Dr. Maronick did not conduct his own rebuttal survey to test his hypotheses and because

   many of his specific criticisms are directly contrary to relevant authority. But the Court should
   also exclude Dr. Maronick’s criticisms for another reason: they are irrelevant in light of Dr.

   Maronick’s ultimate conclusion that no survey would show a likelihood of confusion in this case.

           The final section of Dr. Maronick’s report falls under a header that asks, “What survey, if

   any, can be used in this case to measure the likelihood of confusion?” Hansen Decl. Ex. 4 at

   ¶ 67. After walking through numerous possible survey methods, including the now-standard

   Eveready method and other possible methods, Dr. Maronick concludes no survey would show a

   likelihood of confusion because                                                       . Id. at ¶ 74.

   He repeated this conclusion throughout his deposition. See Hansen Decl. Ex. 2 at 13:9-10

                                                           53:17-20




           As explained in more detail in Amazon’s motion for summary judgment, this remarkable

   argument not only contradicts WREAL’s allegations about

                                              but – if taken seriously – is fatal to WREAL’s case: if

                                                                                and the case must be

   dismissed. For Daubert purposes, this concession also makes Dr. Maronick’s criticisms

   irrelevant. If no survey would show confusion, then it matters little whether Dr. Sarel asked his

   questions using certain words rather than others, or defined his universe in one way versus

   another, or coded his responses in one way instead of another, and so on. Dr. Maronick’s
   criticisms about individual “flaws” in Dr. Sarel’s survey cannot assist the fact-finder because –



    3930870V1/014332
                                                    -11-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 16 of 20




   by Dr. Maronick’s own admission – Dr. Sarel’s survey would not be any more or less reliable

   with or without those “flaws.” The Court should thus prohibit Dr. Maronick from offering his

   criticisms of Dr. Sarel. Instead, Dr. Maronick should be limited to his (case-dispositive)

   concession that                                                      Id. at 13:9-10.

   C.      WREAL Should be Judicially Estopped from Relying on Dr. Maronick’s Critiques
           of Dr. Sarel Given its Representation that Dr. Maronick Would not Testify at Trial.
           As summarized above and explained in Amazon’s Appeal and Objection to the Non-

   Dispositive Ruling of Magistrate Judge Goodman, ECF No. 201, the plain language of the

   Court’s scheduling order required WREAL to disclose all its testifying experts in June 2015 and

   said that “[o]nly those experts shall be permitted to testify.” ECF No. 49. WREAL violated the

   order’s plain language by belatedly disclosing Dr. Maronick on the final day of expert discovery.

   WREAL should be judicially estopped from relying on Dr. Maronick’s critiques of Dr. Sarel

   because WREAL represented – up until the last day of expert discovery – that Dr. Maronick was

   not a trial witness, depriving Amazon of any opportunity to have its own expert, Dr. Sarel,

   review Dr. Maronick’s April 2014 surveys showing no confusion before Dr. Sarel submitted his

   expert report.

           Judicial estoppel is an equitable doctrine that “protect[s] the integrity of the judicial

   process by prohibiting parties from deliberately changing positions according to the exigencies
   of the moment.” New Hampshire v. Maine, 532 U.S. 742, 749-50 (2001) (internal citations

   omitted). “Judicial estoppel is applied to the calculated assertion of divergent sworn positions.

   The doctrine is designed to prevent parties from making a mockery of justice by inconsistent

   pleadings.” Am. Nat’l Bank of Jacksonville v. Fed. Deposit Ins. Corp., 710 F.2d 1528 (11th Cir.

   1983) (emphasis added) (internal citation omitted).

           Courts in the Eleventh Circuit have traditionally considered two factors when applying

   judicial estoppel: (1) whether the inconsistent positions were made under oath in a prior

   proceeding; and (2) whether such inconsistences were calculated “to make a mockery of the
   judicial system.” Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1285 (11th Cir. 2002).


    3930870V1/014332
                                                    -12-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 17 of 20




   Following the Supreme Court’s decision in New Hampshire, the Eleventh Circuit has recognized

   three similar factors that may be considered, including “(1) whether the present position is

   ‘clearly inconsistent’ with the earlier position; (2) whether the party succeeded in persuading a

   tribunal to accept the earlier position . . . and (3) whether the party advancing the inconsistent

   position would derive an unfair advantage on the opposing party.” Id. (citing New Hampshire,

   532 U.S. at 750-51). WREAL plainly meets these factors in this case.

           First, in order to avoid producing Dr. Maronick’s April 2014 survey results in response to

   Amazon’s subpoena, WREAL argued that “[t]he Court should quash the subpoena because Dr.

   Maronick has not been designated as a testifying witness.” ECF No. 139 at 1 (emphasis added).

   WREAL devoted an entire section of its brief to this argument. Id. at 2-3. In fact, WREAL

   emphasized it was not required to disclose Dr. Maronick until the disclosure deadline in the

   scheduling order, which WREAL later ignored. Id. at 1.

           Second, WREAL succeeded in persuading Magistrate Judge Goodman to accept this

   position. Based on WREAL’s representation, Judge Goodman shielded Dr. Maronick’s survey

   from production because “Wreal has not designated Dr. Maronick as a testifying expert for use at

   trial in this case.” ECF No. 141 at 4 (emphasis in original). Judge Goodman recognized that the

   disclosure of Dr. Maronick or other WREAL experts “are not due until June 15, 2015,” a

   deadline WREAL ultimately ignored. Id.
           Third, WREAL disclosed Dr. Maronick as a testifying expert for trial not on WREAL’s

   actual expert disclosure deadline but on the last day of expert discovery as a purported “rebuttal”

   witness. WREAL then produced the documents related to Dr. Maronick’s April 2014 surveys

   some weeks after the close of expert discovery. WREAL’s belated disclosure of Dr. Maronick –

   after WREAL managed to shield Dr. Maronick’s survey documents from discovery by not

   designating him as an expert on its disclosure deadline – has prejudiced Amazon. Amazon did

   not receive Dr. Maronick’s documents before Amazon’s expert disclosures were due, preventing

   Amazon’s expert Dr. Sarel from addressing the documents in his expert report. Dr. Sarel could
   have made use of these documents in any number of ways: for example, Dr. Maronick’s own

    3930870V1/014332
                                                    -13-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 18 of 20




   screening questions in his surveys asked about streaming adult content, which is exactly the type

   of question Dr. Maronick criticized Dr. Sarel for asking. See Maronick Dep. 134:9-15. Even a

   supplement to Dr. Sarel’s report here would not cure the prejudice because Amazon was unable

   to decide at the time how to make use of the information and how (if at all) to adjust its litigation

   strategy in response.

           WREAL’s conduct is of the exact type that the doctrine of judicial estoppel is meant to

   curtail: inconsistent representations – relied upon by the Court – that have prejudiced Amazon.

   WREAL represented to Magistrate Judge Goodman that it had not designated Dr. Maronick as a

   trial witness, refused to disclose him during the required time to disclose experts, and instead

   disclosed him as a rebuttal expert on the last day of expert discovery with “new” opinions on the

   same surveys from Dr. Sarel that Dr. Maronick had in his possession since late 2014 – and, on

   top of all this, successfully shielded Dr. Maronick’s April 2014 survey documents from any

   expert review until long after expert discovery was closed. This is exactly the type of

   gamesmanship that the doctrine of judicial estoppel prohibits.

                                        V.      CONCLUSION
           For the foregoing reasons, Amazon respectfully requests that the expert testimony of Dr.

   Maronick critiquing Dr. Sarel’s survey be excluded and Dr. Maronick’s testimony be limited to

   his April 2014 surveys showing “extremely low” confusion and his explanation that surveys

   show no confusion because

                                 VI.     REQUEST FOR HEARING
           Amazon respectfully requests oral argument, without an evidentiary hearing, on this

   motion, not to exceed one hour. The questions related to the admissibility of Dr. Maronick’s
   testimony relate to the academic literature and judicial decisions on trademark surveys, an area

   that may benefit from additional explanation at oral argument.




    3930870V1/014332
                                                     -14-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 19 of 20




   Dated: October 13, 2015            Respectfully submitted,


                                      By:      /s/ Jamie Zysk Isani

                                            Jamie Zysk Isani (Florida Bar No. 728861)
                                            HUNTON & WILLIAMS LLP
                                            1111 Brickell Avenue, Suite 2500
                                            Miami, Florida 33131
                                            Telephone: (305) 810-2500
                                            Facsimile: (305) 810-1675
                                            jisani@hunton.com

                                            Justin A. Nelson (pro hac vice)
                                            SUSMAN GODFREY L.L.P.
                                            1000 Louisiana Street, Suite 5100
                                            Houston, Texas 77002-5096
                                            Telephone: (713) 651-9366
                                            Fax: (713) 654-6666
                                            jnelson@susmangodfrey.com

                                            Drew D. Hansen (pro hac vice)
                                            Edgar Sargent (pro hac vice)
                                            Patrick C. Bageant (pro hac vice)
                                            SUSMAN GODFREY L.L.P.
                                            1201 Third Ave, Suite 3800
                                            Seattle, Washington 98101
                                            Telephone: (206) 516-3880
                                            Facsimile: (206) 516-3883
                                            dhansen@susmangodfrey.com
                                            esargent@susmangodfrey.com
                                            pbageant@susmangodfrey.com

                                            Counsel for Defendant Amazon.com




    3930870V1/014332
                                            -15-
Case 1:14-cv-21385-JAL Document 212 Entered on FLSD Docket 10/13/2015 Page 20 of 20



                                   CERTIFICATE OF SERVICE

           I CERTIFY that on October 13, 2015, a true and correct copy of the foregoing was

   served by transmission of Notice of Electronic Filing generated by CM/ECF on all counsel or

   parties of record on the Service List below.


                                                           /s/Jamie Z. Isani
                                                          Jamie Zysk Isani


                                           SERVICE LIST


   Carlos Nunez-Vivas
   can@wnflaw.com
   Daniel Foodman
   df@wnflaw.com
   Dennis J. Wouters
   djw@wnflaw.com
   John G. Marfoe
   jgm@wnflaw.com
   WNF Law, P.L. - Waserstein Nunez & Foodman
   1111 Brickell Avenue, Suite 2200
   Miami, Florida 33131
   Tel.: (305) 760-8500
   Fax: (305) 760-8510

   Attorneys for Plaintiff WREAL, LLC




    3930870V1/014332
                                                  -16-
